                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION at FLINT
In re: Brett Svatora
                                                             Case No. 14-30028-DOF
                                                             Chapter 13
                                                             Hon. Daniel S. Opperman
            Debtor(s).
____________________________/

                       TRUSTEE’S NOTICE PURSUANT TO LBR 3001-2

   Let all interested parties take notice that the Trustee was served with notice by Flagstar
Bank, a creditor with a filed §1322(b)(5) or (b)(7) proof of claim, of a change in the periodic
payments due to this creditor.

Pursuant to Eastern District of Michigan Local Bankruptcy Rule 3001-2 the Chapter 13 Trustee
gives the following notice:

The current plan payment will adequately fund the plan if increased by $225.00/WEEKLY.

 Dated: April 10, 2018             /s/ Carl Bekofske
                                   Carl L. Bekofske Standing Chapter 13 Trustee
                                   400 N. Saginaw St. Ste 331
                                   Flint, MI 48502
                                   (810) 238-4675
                                   ecf@flint13.com
                                   P-10645




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____________________________/


                               CERTIFICATE OF SERVICE




I hereby certify that on 4/10/2018 I electronically filed the Chapter 13 Trustee’s Notice pursuant
to LBR 3001 - 2(c) with the Clerk of the Court using the ECF system.


                                   /s/ STEVE ROBINSON
                                   400 N. Saginaw St. Ste 331
                                   Flint, MI 48502
                                   (810) 238-4675
                                   ECF@flint13.com




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